Case 2:20-bk-21020-BR         Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00      Desc
                               Main Document     Page 1 of 9



  1 EVAN C. BORGES, State Bar No. 128706
     EBorges@GGTrialLaw.com
  2 GREENBERG GROSS LLP
    650 Town Center Drive, Suite 1700
  3 Costa Mesa, California 92626
    Telephone: (949) 383-2800
  4 Facsimile: (949) 383-2801

  5 Attorneys for Party-in-Interest Erika Girardi

  6

  7

  8                            UNITED STATES BANKRUPTCY COURT

  9             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10

 11 In re                                           Case No. 2:20-bk-21020-BR

 12 THOMAS VINCENT GIRARDI,                         Chapter 7

 13                 Debtor.                         JOINT STIPULATION AND [PROPOSED]
                                                    ORDER TO CONTINUE HEARING ON
 14                                                 EDELSON PC’S MOTION FOR RELIEF
                                                    FROM THE AUTOMATIC STAY
 15
                                                    Current Hearing Date and Time
 16                                                 Date: November 2, 2021
                                                    Time: 10:00 a.m.
 17                                                 Ctrm: 1668

 18                                                 Proposed New Hearing Date and Time
                                                    Date: November 16, 2021
 19                                                 Time: 2:00 p.m.
                                                    Ctrm: 1668
 20
                                                    Hon. Barry Russell
 21

 22

 23

 24

 25

 26

 27

 28

                       JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                             MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR        Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00                Desc
                              Main Document     Page 2 of 9



  1          Creditor Edelson PC (“Edelson”); Jason M. Rund, Chapter 7 Trustee for the above-

  2 captioned Chapter 7 bankruptcy estate (“Thomas Girardi Trustee”); Elissa D. Miller, Chapter 7

  3 Trustee for the Girardi Keese Chapter 7 bankruptcy estate (“Girardi Keese Trustee”); and Party-in-

  4 Interest Erika Girardi (“Ms. Girardi”), and collectively (the “Parties”) hereby stipulate as follows:

  5          1.     On October 4, 2021, Edelson PC filed its Motion for Relief from the Automatic

  6 Stay (“Motion”), seeking clarification of the scope of the automatic stay as to Ms. Girardi so that

  7 Edelson could proceed in the Edelson PC v. Girardi litigation against Ms. Girardi. Dkt. 258, see

  8 No. 20-cv-07115 (N.D. Ill.).

  9          2.     On October 19, 2021, the Girardi Keese Trustee filed her opposition to the Motion.

 10 Dkt. 268. On October 20, 2021, the Thomas Girardi Trustee filed a limited opposition to the

 11 Motion, and Ms. Girardi filed her opposition to the Motion. Dkts. 270, 272.

 12          3.     The hearing on Edelson PC’s motion is presently set for November 2, 2021 at

 13 10:00 a.m. Dkt. 264. Counsel for all Parties have conferred and agreed to continue the hearing to

 14 November 16, 2021 at 2:00 p.m. On that date, Special Counsel for the Girardi Keese Trustee,

 15 Ronald Richards, will be appearing before the Court in person at 2:00 p.m. on an unrelated matter.

 16 Mr. Richards and Ms. Girardi’s counsel, Evan C. Borges, will also be appearing before this Court

 17 on the same date and time at a status conference previously continued by this Court in the Miller

 18 vs. Girardi adversary proceeding. See, No. 2:21-ap-01155. This is the Parties’ first request for a

 19 continuance of the hearing on this Motion, and is not made for the purposes of delay.

 20          4.     Counsel for all Parties have agreed that a Zoom conference for the hearing on the

 21 Motion would be welcomed for those Parties not already before the Court in person. Those

 22 Parties are also available to appear before the Court in person for the hearing on the Motion, and

 23 will appear as directed by the Court.

 24 / / /

 25 / / /

 26 / / /

 27 / / /

 28 / / /
                                                      -2-
                        JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR      Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00                Desc
                            Main Document     Page 3 of 9


  1         Based on the foregoing, the Parties hereby stipulate and agree to continue the hearing on

  2 Edelson PC's Motion for Relief from the Automatic Stay to November 16, 2021 at 2:00 p.m.

  3        IT IS SO STIPULATED.

  4 DATED: October 21, 2021                   EDELSON PC

  5

  6
                                              By:
  7                                                 Rafey S. alabanian
                                                    Attorneys for Creditor Edelson PC
  8

  9 DATED: October         , 2021             LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 10

 11
                                              By:
 12                                                 Timothy J. Yoo
                                                    Carmela T. Pagay
 13
                                                    Attorneys for Jason M. Rund, Chapter 7 Trustee
 14

 15 DATED: October         , 2021             SMILEY WANG-EKVALL, LLP

 16

 17
                                              By:
 18                                                 Philip E. Strok
                                                    Timothy W. Evanston
 19                                                 Attorneys for Elissa D. Miller, Chapter 7 Trustee
                                                    for the bankruptcy estate of Girardi Keese
 20

 21
      DATED: October       , 2021             GREENBERG GROSS LLP
 22

 23
                                              By:
 24
                                                    Evan C. Borges
 25                                                 Attorneys for Party-in-Interest Erika Girardi

 26

 27

 28
                                                    -3-
                      JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC'S
                            MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR      Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00                Desc
                            Main Document     Page 4 of 9


            Based on the foregoing, the Parties hereby stipulate and agree to continue the hearing on

  2 Edelson PC's Motion for Relief from the Automatic Stay to November 16, 2021 at 2:00 p.m.

  3        IT IS SO STIPULATED.

  4 DATED: October         , 2021             EDELSON PC

  5

  6
                                              By:
  7                                                  Rafey S. Balabanian
                                                     Attorneys for Creditor Edelson PC
  8
  9   DATED: OctoberJ/-, 2021                 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 10

 11

 12
 13
 14

 15   DATED: October 21, 2021                 SMILEY WANG-EKVALL, LLP

 16

 17                                           By:
 18                                                  Philip E. Strok
                                                     Timothy W. Evanston
 19                                                  Attorneys for Elissa D. Miller, Chapter 7 Trustee
                                                     for the bankruptcy estate of Girardi Keese
 20

 21                                            GREENBERG GROSS LLP
      DATED: October_,
                    21 2021
 22

 23
                                               By:
 24                                                  Evan C. Borges
                                                     Attorneys for Party-in-Interest Erika Girardi
 25

 26

 27
 28
                                                     -3-
                      JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC'S
                            MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR      Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00             Desc
                            Main Document     Page 5 of 9



  1                                     [PROPOSED] ORDER

  2         Pursuant to the foregoing Joint Stipulation to Continue Hearing on Edelson PC’s Motion

  3 for Relief from the Automatic Stay, and good cause appearing, IT IS HEREBY ORDERED that:

  4            1.   The hearing on Edelson PC’s Motion for Relief from the Automatic Stay is

  5 continued from November 2, 2021 at 10:00 a.m. to November 16, 2021 at 2:00 p.m.

  6                                             ###

  7

  8

  9
                                                Barry Russell
 10                                             United States Bankruptcy Judge
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                   -4-
                      JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                            MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR           Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00                     Desc
                                 Main Document     Page 6 of 9



  1                             PROOF OF SERVICE OF DOCUMENT
  2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is:
  3
                                           650 Town Center Drive, Suite 1700
  4                                             Costa Mesa, CA 92626

  5 A true and correct copy of the foregoing document entitled (specify): JOINT STIPULATION AND
    [PROPOSED] ORDER TO CONTINUE HEARING ON EDELSON PC’S MOTION FOR
  6 RELIEF FROM THE AUTOMATIC STAY will be served or was served (a) on the judge in
      chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  8 controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On October 21, 2021, I checked the CM/ECF docket for this bankruptcy case or
  9 adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
 10

 11                                                               Service information continued on attached page

 12 2. SERVED BY UNITED STATES MAIL:
      On October 21, 2021, I served the following persons and/or entities at the last known addresses in this ba
 13 nkruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in t
      he United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
 14 constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 15

 16                                                               Service information continued on attached page

 17 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 18 (date)______________, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 19 email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 20

 21                                                               Service information continued on attached page

 22 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 23     October 21, 2021 Cheryl Winsten
        Date                      Printed Name                    Signature
 24

 25

 26

 27

 28
                                                            -5-
                           JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR        Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00                 Desc
                              Main Document     Page 7 of 9



  1                                In re THOMAS VINCENT GIRARDI
                                         Case No. 2:20-bk-21020-BR
  2                                 U.S.B.C. Central District of California
                                            Los Angeles Division
  3

  4 1.       SERVED VIA NOTICE OF ELECTRONIC FILING (NEF):

  5
    The following is the list of parties who are currently on the list to receive email notice/service for
  6 this case.

  7
            Rafey Balabanian rbalabanian@edelson.com, docket@edelson.com
  8         Shraddha Bharatia notices@becket-lee.com
            Ori S Blumenfeld Ori@MarguliesFaithLaw.com,
  9          Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFait
             hLaw.com
 10         Richard D Buckley richard.buckley@arentfox.com
 11         Marie E Christiansen mchristiansen@vedderprice.com,
             ecfladocket@vedderprice.com,marie-christiansen-4166@ecf.pacerpro.com
 12         Jennifer Witherell Crastz jcrastz@hrhlaw.com
            Ashleigh A Danker Ashleigh.danker@dinsmore.com,
 13          SDCMLFiles@DINSMORE.COM;Katrice.ortiz@dinsmore.com
            Clifford S Davidson csdavidson@swlaw.com, jlanglois@swlaw.com;cliff-davidson-
 14          7586@ecf.pacerpro.com
 15         Lei Lei Wang Ekvall lekvall@swelawfirm.com,
             lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
 16         Richard W Esterkin richard.esterkin@morganlewis.com
            Timothy W Evanston tevanston@swelawfirm.com,
 17          gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
            Jeremy Faith Jeremy@MarguliesFaithlaw.com,
 18          Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithl
 19          aw.com
            James J Finsten , jimfinsten@hotmail.com
 20         James J Finsten jfinsten@lurie-zepeda.com, jimfinsten@hotmail.com
            Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
 21          lawyers.net,addy.flores@flpllp.com
            Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
 22
            Andrew Goodman agoodman@andyglaw.com,
 23          Goodman.AndrewR102467@notify.bestcase.com
            M. Jonathan Hayes jhayes@rhmfirm.com,
 24          roksana@rhmfirm.com;matt@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;pri
             scilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;davi
 25          d@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfir
            Marshall J Hogan mhogan@swlaw.com, knestuk@swlaw.com
 26
            Bradford G Hughes bhughes@Clarkhill.com, mdelosreyes@clarkhill.com
 27         Razmig Izakelian razmigizakelian@quinnemanuel.com
            Lewis R Landau Lew@Landaunet.com
 28
                                                      -6-
                        JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR     Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00      Desc
                           Main Document     Page 8 of 9



  1         Craig G Margulies Craig@MarguliesFaithlaw.com,
             Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithl
  2          aw.com
            Peter J Mastan peter.mastan@dinsmore.com,
  3
             SDCMLFiles@dinsmore.com;Katrice.ortiz@dinsmore.com
  4         Edith R. Matthai ematthai@romalaw.com, lrobie@romalaw.com
            Elissa Miller emiller@sulmeyerlaw.com,
  5          emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
            Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
  6         Scott H Olson solson@vedderprice.com, scott-olson-
             2161@ecf.pacerpro.com,ecfsfdocket@vedderprice.com,nortega@vedderprice.com
  7
            Carmela Pagay ctp@lnbyb.com
  8         Ambrish B Patel apatelEI@americaninfosource.com
            Leonard Pena lpena@penalaw.com,
  9          penasomaecf@gmail.com;penalr72746@notify.bestcase.com
            Michael J Quinn mquinn@vedderprice.com, ecfladocket@vedderprice.com,michael-
 10          quinn-2870@ecf.pacerpro.com
 11         Matthew D. Resnik matt@rhmfirm.com,
             roksana@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;pris
 12          cilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;davi
             d@rhmfirm.com;sloan@rhmfirm.com
 13         Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
            Kevin C Ronk Kevin@portilloronk.com, Attorneys@portilloronk.com
 14         Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
 15         William F Savino wsavino@woodsoviatt.com, lherald@woodsoviatt.com
            Gary A Starre gastarre@gmail.com, mmoonniiee@gmail.com
 16         Richard P Steelman rps@lnbyb.com, john@lnbyb.com
            Philip E Strok pstrok@swelawfirm.com,
 17          gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 18
            Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
 19         Timothy J Yoo tjy@lnbyb.com

 20

 21 2.        SERVED BY UNITED STATES MAIL:
 22 U.S. Bankruptcy Court:

 23 U.S. Bankruptcy Court
    Hon. Hon. Barry Russell
 24 255 E. Temple Street, Suite 1668
    Los Angeles, CA 90012
 25
    Debtor:
 26

 27 Thomas Vincent Girardi
    1126 Wilshire Boulevard
 28 Los Angeles, CA 90017
                                               -7-
                      JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                            MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 2:20-bk-21020-BR     Doc 273 Filed 10/21/21 Entered 10/21/21 16:23:00   Desc
                           Main Document     Page 9 of 9



  1
    ABIR COHEN TREYZON SALO, LLP, a California limited liability partnership
  2 ACTS
    16001 Ventura Boulevard, Suite 200
  3 Encino, CA 91436

  4
    Compass
  5 42 S Pasadena Ave
    Pasadena, CA 91105
  6
    Daimler Trust
  7 c/o BK Servicing, LLC
    PO Box 131265
  8
    Roseville, MN 55113
  9
    Levene Neale Bender Yoo & Brill LLP
 10 10250 Constellation Blvd Ste 1700
    Los Angeles, CA 90067
 11
    William Savino
 12
    1900 Main Pl Tower
 13 Buffalo, NY 14202

 14 Eric Bryan Seuthe
    Law Offices of Eric Bryan Seuthe & Assoc
 15 10990 Wilshire Blvd Ste 1420.
    Los Angeles, CA 90024
 16

 17 Neil Steiner
    Steiner & Libo
 18 11845 W. Olympic Blvd Ste 910W
    Los Angeles, CA 90064
 19
    Andrew W Zepeda
 20
    Lurie, Zepeda, Schmalz, Hogan & Martin
 21 1875 Century Park East Ste 2100
    Los Angeles, CA 90067
 22

 23

 24

 25

 26

 27

 28
                                               -8-
                     JOINT STIPULATION TO CONTINUE HEARING ON EDELSON PC’S
                           MOTION FOR RELIEF FROM THE AUTOMATIC STAY
